986 F.2d 1412
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Rodgers BURNLEY, Plaintiff-Appellant,v.COMMANDING GENERAL, MCRD, Parris Island, South Carolina;United States Marine Corps, Defendants-Appellees.
    No. 92-7214.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 25, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-92-748)
      John Rodgers Burnley, Appellant Pro Se.
      E.D.Va.
      DISMISSED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      John Rodgers Burnley seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Burnley v. Commanding General, No. CA-92-748 (E.D. Va.  Nov. 20, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    